         Case 20-11941-mdc       Doc 33 Filed 07/27/20 Entered 07/27/20 17:33:28                 Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

In re:
         MATTHEW JOHNSON, JR.                                 Chapter 13
         LAKEISHA S RIVERS

                               Debtor                 Bankruptcy No. 20-11941-MDC


                   CHAPTER 13 STANDING TRUSTEE’S MOTION FOR DISMISSAL

       AND NOW comes, William C. Miller, Esquire, Chapter 13 standing trustee, and requests that the above-
captioned bankruptcy case be dismissed for the following reason(s):

There has been unreasonable delay by debtor(s) that is prejudicial to creditors pursuant to 11 U.S.C. Section
1307(c)(1), by the failure of debtor(s) to provide business information sufficient for the trustee to evaluate the
financial condition of debtor(s) and/or the plan.
Debtor(s) has/have failed to provide evidence of business insurance coverage as directed at the meeting of
creditors held under 11 U.S.C. Section 341(a), or thereafter.
Debtor(s) has/have failed to provide evidence of business licensing as directed at the meeting of creditors held
under 11 U.S.C. Section 341(a), or thereafter.

        The hearing scheduled by the filing of this motion may be adjourned from time to time without further
notice to interested parties by announcement of such adjournment in Court on the date scheduled for the hearing.

       The standing trustee consents to the entry of a final order or judgment by the Court if it is determined that
the Court, absent consent of the parties, cannot enter a final order or judgment consistent with Article III of the
United States Constitution.


        WHEREFORE, William C. Miller, Esquire, Chapter 13 standing trustee, respectfully requests that
Court, after a hearing, enter an Order in the form annexed hereto, dismissing this bankruptcy case.


                                                              Respectfully submitted,

                                                              /s/ William C. Miller
                                                              ______________________
                                                              William C. Miller, Esquire
                                                              Chapter 13 Standing Trustee
                                                              P.O. Box 1229
                                                              Philadelphia, PA 19105
                                                              Telephone: (215)627-1377
